         Case
          Case1:24-md-03097-LJL
               1:23-cv-10875-LJL Document 116
                                          83 Filed
                                              Filed07/09/24
                                                    06/24/24 Page
                                                              Page11ofof33




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

  IN RE CONCRETE AND CEMENT                         24-MD-03097 (LJL)
  ADDITIVES ANTITRUST LITIGATION
                                                    [PROPOSED] ORDER GRANTING
                                                    INDIRECT PURCHASER
                                                    PLAINTIFFS’ UNOPPOSED
  _____________________                             MOTION FOR APPOINTMENT OF
                                                    KAPLAN FOX & KILSHEIMER
  This Document Relates To:
                                                    LLP, LOCKRIDGE GRINDAL
  All Indirect Purchaser Plaintiff Actions          NAUEN PLLP, AND CUNEO
                                                    GILBERT & LADUCA, LLP AS
  1-23-cv-10875-LJL                                 INTERIM CO-LEAD COUNSEL
  1:24-cv-00460-LJL                                 FOR THE PROPOSED INDIRECT
  1:24-cv-00512-LJL                                 PURCHASER CLASSES
  1:24-cv-00564-LJL
  1:24-cv-03026-LJL
  1:24-cv-03224-LJL
  1:24-cv-03229-LJL
  1:24-cv-03256-LJL


        WHEREAS, the law firms of Kaplan, Fox & Kilsheimer LLP (Kaplan Fox), Lockridge

Grindal Nauen PLLP (Lockridge) and Cuneo, Gilbert & Laduca LLP (Cuneo) have filed a motion

and supporting papers to be appointed as Interim Co-Lead Counsel for the Indirect Purchaser

Plaintiff classes; and,

        WHEREAS, the motion is unopposed; and,

        WHEREAS, good cause has been shown for granting the motion including the work that

the three firms have done in preparing this case and their experience in prosecuting antitrust and

other complex litigation.

        NOW THEREFORE IT IS HEREBY:

        ORDERED that the motion to appoint Kaplan Fox, Lockridge, and Cuneo as Interim Co-

Lead Counsel for the putative Indirect Purchaser Plaintiff classes is GRANTED. Kaplan Fox,



                                                1
            Case
             Case1:24-md-03097-LJL
                  1:23-cv-10875-LJL Document 116
                                             83 Filed
                                                 Filed07/09/24
                                                       06/24/24 Page
                                                                 Page22ofof33




Lockridge and Cuneo will be responsible for the overall conduct of the litigation on behalf of the

putative Indirect Purchaser Plaintiff classes, including supervising all counsel representing

plaintiffs in the putative Indirect Purchaser Plaintiff classes in this litigation. As Interim Co-Lead

Class Counsel, Kaplan Fox, Lockridge and Cuneo have the authority to:

       a.       Promote the efficient conduct of this litigation and avoid unnecessary duplication

and unproductive efforts by making and supervising all work assignments;

       b.       Prepare and file the Consolidated Class Complaint on behalf of the putative Indirect

Purchaser Plaintiff classes, and any subsequent pleadings;

       c.       Make, brief, and argue motions;

       d.       Delegate specific tasks to other counsel for the Indirect Purchaser Plaintiffs, as

appropriate to serve the best interests of the putative classes, and in a manner to ensure that pretrial

preparation for the Indirect Purchaser Plaintiffs is conducted efficiently and effectively;

       e.       Conduct all pretrial, trial, and post-trial proceedings on behalf of the putative

Indirect Purchaser Plaintiff classes and act as a spokesperson for such classes;

       f.       Conduct and coordinate discovery on behalf of the putative Indirect Purchaser

Plaintiff classes consistent with the Federal Rules of Civil Procedure, including preparing (or

responding to) written discovery requests and examining (or defending) witnesses in depositions;

       g.       Monitor activities of the Indirect Purchaser Plaintiffs’ counsel to whom they

delegate assignments, and implement procedures to ensure that schedules are met and unnecessary

expenditures of time and funds are avoided by collecting from each firm regular time and expense

reports;

       h.       Negotiate with defense counsel with respect to settlement and other matters;

       i.       Prepare any application for an award (or approval) of attorneys’ fees and the




                                                   2
                Case
                 Case1:24-md-03097-LJL
                      1:23-cv-10875-LJL Document 116
                                                 83 Filed
                                                     Filed07/09/24
                                                           06/24/24 Page
                                                                     Page33ofof33




reimbursement of litigation expenses incurred by the putative Indirect Purchaser Plaintiff classes;

           j.       Consult with and retain expert witnesses for the putative Indirect Purchaser Plaintiff

classes;

           k.       Negotiate with, retain, and manage relations with outside vendor(s) for the

collection, processing, or review of documents and electronically stored information produced in

discovery;

           l.       Conduct or coordinate all negotiations with defense counsel regarding search and

production protocols, manage the review of documents produced by defendants and third parties

(and the production of documents by the putative Indirect Purchaser Plaintiffs), and implement

advanced analytics for the efficient review of documents, as appropriate;

           m.       Coordinate and communicate as necessary with counsel for other parties in the

litigation regarding any matters addressed in this Order to ensure efficient use of Indirect Purchaser

Plaintiffs’, defendants,’ and the Court’s time;

           n.       Ensure that all counsel for the Indirect Purchaser Plaintiffs and the Indirect Purchaser

Plaintiff classes are informed of the progress of this litigation as necessary; and

           o.       Otherwise coordinate the work of counsel for the Indirect Purchaser Plaintiffs, and

perform such other duties as Interim Co-Lead Class Counsel deem necessary and appropriate based

upon their judgment and consideration or as authorized by further Order of the Court.

 Dated: July 9, 2024
                                                           U.S.D.J. HON. LEWIS J. LIMAN




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